                    Case 2:08-cr-00376-WBS Document 146 Filed 08/23/10 Page 1 of 2


               1   STEVENS, O’CONNELL & JACOBS LLP
                   MATTHEW G. JACOBS (SBN 122066)
               2   JAMES P. ARGUELLES (SBN 185828)
                   400 Capitol Mall, Suite 1400
               3   Sacramento, CA 95814
                   Telephone: (916) 329-9111
               4   Facsimile: (916) 329-9110
                   Email: mgj@sojllp.com
               5
                   Attorneys for Defendant
               6   SHANE BURRESON
               7

               8

               9

              10                               UNITED STATES DISTRICT COURT
              11                              EASTERN DISTRICT OF CALIFORNIA
              12

              13   UNITED STATES OF AMERICA,                           Case No. CR S 08-376 EJG
              14          Plaintiff,
                                                                       STIPULATION AND ORDER TO
              15   v.                                                  RELEASE PASSPORT TO DEFENDANT
                                                                       SHANE BURESSON
              16   GARRET GRIFFITH GILILLAND III,
                   WILLIAM E. BAKER, SHANE BURRESON,
              17   CHRISTOPHER M. CHIAVOLA,
                   BRANDON RESENDEZ, LEONARD
              18   WILLIAMS, NICOLE MAGPUSAO, NICHE
                   FORTUNE, KESHA HAYNIE, and REMY
              19   HENG,
              20          Defendants.
              21
                          Defense counsel represents the following:
              22
                   Prior to being charged in this case, Defendant Shane Burreson became engaged to be married on
              23
                   October 2, 2010 and made plans to spend his honeymoon in Cancun, Mexico, from October 5-
              24
                   16, 2010. As part of these plans, Mr. Burreson and his fiancée purchased a non-refundable
              25
                   honeymoon package. At his arraignment Mr. Burreson was released on a $100,000 unsecured
              26
                   appearance bond and ordered to turn over his passport to the Pretrial Services Office, which he
              27
                   has done. A waiver of Mr. Burreson’s appearance has also been submitted and approved by this
              28
  Stevens,
O’Connell &                                                        1
Jacobs LLP                        STIPULATION AND [PROPOSED] ORDER TO RELEASE PASSPORT
                    Case 2:08-cr-00376-WBS Document 146 Filed 08/23/10 Page 2 of 2


               1   Court. Mr. Burreson has made all of his prior Court appearances and met all of his obligations
               2   with the Pretrial Services Office. The Pretrial Services Office has no objection to allowing Mr.
               3   Burreson to travel to Cancun for his honeymoon as previously planned.
               4            Accordingly, the parties stipulate and agree as follows:
               5            (1) The Pretrial Services Office will release Mr. Burreson’s passport and allow him to
               6   pick it up at any time on or after September 27, 2010;
               7            (2) Mr. Burreson will be permitted to travel to Cancun for his honeymoon; and
               8            (3) Mr. Burreson will return his passport to the Pretrial Services office by no later than
               9   October 21, 2010.
              10   Dated: August 17, 2010                          /s/ James P. Arguelles
                                                                  James P. Arguelles
              11                                                  Attorney for Defendant Shane Burreson
              12

              13
                   Dated: August 17, 2010                         /s/ Russell L. Carlberg
              14                                                  Russell L. Carlberg
                                                                  Assistant United States Attorney
              15

              16
                            IT IS SO ORDERED
              17

              18   Dated:          August 23, 2010
                                                                      /s/
              19                                                  Hon. Edward J. Garcia
                                                                  United States District Court
              20

              21

              22

              23

              24

              25

              26

              27

              28
  Stevens,
O’Connell &                                                           2
Jacobs LLP                         STIPULATION AND [PROPOSED] ORDER TO RELEASE PASSPORT
